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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                        CASE NO. 10-62413-Civ-Zloch/Rosenbaum

 SUSAN M. JORDAN,

        Plaintiff,

 v.

 ACCOUNT CONTROL SYSTEMS, INC.,

       Defendant.
 _________________________________________/

                PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                              WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule

 of Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.




                                           Respectfully submitted,

                                           DONALD A. YARBROUGH, ESQ.
                                           Attorney for Plaintiff
                                           Post Office Box 11842
                                           Fort Lauderdale, Florida 33339
                                           Telephone: (954) 537-2000
                                           Facsimile: (954) 566-2235
                                           donyarbrough@mindspring.com

                                           s/Donald A. Yarbrough
                                           Donald A. Yarbrough, Esq.
                                           Florida Bar No. 0158658
Case 0:10-cv-62413-WJZ Document 4 Entered on FLSD Docket 01/22/2011 Page 2 of 2




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 SUSAN M. JORDAN,

        Plaintiff,
 v.

 ACCOUNT CONTROL SYSTEMS, INC.,

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 _______________________________/

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 22, 2011, I electronically filed the
 foregoing document with the Clerk of Court using CM/ECF. I also certify that the
 foregoing document is being served this day on all counsel of record or pro se parties
 identified on the attached Service List in the manner specified, either via transmission of
 Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
 for those counsel or parties who are not authorized to receive electronically Notices of
 Electronic Filing.



                                                  s/Donald A. Yarbrough
                                                  Donald A. Yarbrough, Esq.


                                      SERVICE LIST

 Joseph Vitale
 Account Control Systems, Inc.
 Suite D
 148 Veterans Drive
 Northvale, NJ 07647
 Telephone: 201-767-5300
 Facsimile: 201-767-7051

 Via U.S. Mail.
